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IN THE: UNITED sTATES DISTRICT COURT Fu_ED BY u£./ D¢
FOR THE wESTERN DISTRICT 01=' TENNESSEE `“”'”""‘ ` '

wESTERN DIVISION 05 JUL |3 PH 3= 010

 

THOMASM M.GOU.D
X G.EH<,:§.: rsSifizcrooul:rr
o'NEAL DANDRIDGE, x W_rD EFF`; ' ziin
X
Plaintiff, X
X
vs. X No. 05-2326-Ma/V
X
METHODIST, X
X
Defendants. X
X

 

ORDER DENYING LEAVE TO PROCEED I_I\l FORMA PAUPERIS
AND
ORDER DIRECTING PLAINTIFF TO PAY THE $250 CIVIL FILING FEE

 

Plaintiff O’Neal Dandridge filed a ppg §§ complaint on
the form used for commencing actions pursuant to 42 U.S.C. § 1983
on May 3, 2005, along with a motion seeking leave to proceed ip
§p;ma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of $150.” 28 U.S.C. § 1914(a). To
ensure access to the courts, however, 28 U.S.C. § 1915(a) permits
an indigent plaintiff to avoid payment of filing fees by filing an
pp fp;ma pauperis affidavit. Under that section, the Court must
conduct a satisfactory inquiry into the plaintiff's ability to pay
the filing fee and prosecute the lawsuit. A plaintiff seeking ip

forma pauperis standing must respond fully to the questions on the

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with Ru‘eEBand/or 79{3) FHCP On_ng_Q§_ 4

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Court’s ip _fppma pauperis form and execute the affidavit in
compliance with the certification requirements contained in 28
U.S.C. § 1746. See, e.g., Revnolds v. Federal Bur. of Prisons, 30
Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v. Fort Knox Fed.

Credit UniOn, NO. 86-1896, 1997 WL 242043 (Sth Cir. May 8, 1997).

 

As the plaintiff's motion to proceed ip fp;ma pauperis
contains no information concerning his monthly income, assets, and
financial obligations, the Court has no basis for concluding that
he is indigent and unable to pay the filing fee or to give security
therefor. Accordingly, the motion to proceed in fp;ma pauperis is
DENIED. The plaintiff is ORDERED, within thirty (30) days of the
date of entry of this order, to pay the $250 civil filing fee.1
Failure to timely comply with this order will result in dismissal
of this action, pursuant to Fed. R. Civ. P. 41(b), for failure to
prosecute.

IT Is so 0RDERED this lzJ `* day of July, 2005.

yy/M____

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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from $150.

Effective March 7, 2005, the civil filing fee was increased to $250

 

uNlTsTED`ATES DISTRCT C URT - WESTNER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02326 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

O'Neal Dandridge
3120 Alta Road
i\/lemphis7 TN 3 8109

Honorable Samuel Mays
US DISTRICT COURT

